           Case 2:22-cv-00543-SM-DPC Document 83 Filed 11/28/23 Page 1 of 5




                                     UNITED STATES DISTRICT COURT

                                     EASTERN DISTRICT OF LOUISIANA

 VIVIAN S. CAHILL and THE ESTATE OF                      :
 SANDRA F. GARDNER, by its Personal                      :     Case No.:     22-cv-00543-SM-DPC
 Representative, Michael H. Gardner,                     :
                                                         :
                        Plaintiffs                       :     Judge:        SUSIE MORGAN
     vs.                                                 :
                                                         :     Magistrate:   DONNA PHILLIPS              .
 GREGORY G. FAIA, VERNON H.                              :
 DECOSSAS III, FAIA & ASSOCIATES,                        : .                 CURRAULT
 LLC, ADS SQUARED LLC, VISUAL AD                         :
 GROUP, INC., and DSE LEASING, LLC,                      :
                                                         :
                        Defendants

                 JOINT MOTION TO CONTINUE SCHEDULING CONFERENCE

           Pursuant to the Federal Rules of Civil Procedure, Defendants (Gregory G. Faia, Vernon H.

Decossas III, Faia & Associates, LLC, Ads Squared LLC, Visual Ad Group, Inc., and DSE

Leasing, LLC) and Plaintiffs (Vivian S. Cahill and the Estate of Sandra F. Gardner, by its Personal

Representative, Michael H. Gardner) (Defendants and Plaintiffs hereinafter referred to as the

“Parties”) hereby submit this “Joint Motion to Continue Scheduling Conference.” The Parties

further represent as follows:

                                                    1.

           This Court recently ordered that the Parties participate in a “Scheduling Conference” on

Tuesday, December 5, 2023 (9:30 a.m.) “for the purpose of scheduling a pre-trial conference and

trial on the merits and for a discussion of the status and discovery cut-off dates.” Docket # 82.

                                                    2.

             The U.S. Bankruptcy Court for the Middle District of Florida, Faia v. Solares, No. 19-bk-

8638-CPM (21-ap-333-CPM) (M.D. Fla. Bkr.) (the “Florida Litigation”), has indicated that it will




5401300.v2
         Case 2:22-cv-00543-SM-DPC Document 83 Filed 11/28/23 Page 2 of 5




hold a hearing and announce a ruling on the afternoon of Friday, December 1, 2023. See Florida

Litigation, Docket # 509.

                                                  3.

         The U.S. Bankruptcy Court’s anticipated ruling could materially impact positions

Defendants may take in these proceedings that will impact the discussions in any scheduling

conference.

                                                  4.

         A short continuance of the December 5 scheduling conference would enable the Parties to

obtain important information that might be pertinent to the discussions and planning that will need

to occur prior to and during the scheduling conference. Moreover, a short continuance would also

allow the Parties the needed time to confer prior to the scheduling conference to discuss possible

stipulations, appropriate deadlines, anticipated filings, etc.

                                                  5.

         The Parties accordingly request that the scheduling conference currently scheduled for

December 5, 2023 (Docket # 82), be continued for approximately 10 days.

                                                  6.

         Counsel for the Parties have conferred and are generally available to participate in a reset

scheduling conference on December 14-15 and December 18-22 if it be convenient for the Court.

                                                  7.

         This motion is submitted one week prior to the currently-scheduled December 5 scheduling

conference and is therefore timely.




                                                                                               Page 2
5401300.v2
         Case 2:22-cv-00543-SM-DPC Document 83 Filed 11/28/23 Page 3 of 5




                                                8.

         The Parties accordingly request that the Court grant this “Joint Motion to Continue

Scheduling Conference.”

                                          ____ __ ____

         WHEREFORE, Defendants (Gregory G. Faia, Vernon H. Decossas III, Faia & Associates,

LLC, Ads Squared LLC, Visual Ad Group, Inc., and DSE Leasing, LLC) and Plaintiffs (Vivian S.

Cahill and the Estate of Sandra F. Gardner, by its Personal Representative, Michael H. Gardner)

respectfully request that the Court:

         (a)   GRANT this Joint Motion to Continue Scheduling Conference; and

         (b)   Continue the scheduling conference currently set for December 5, 2023
               (9:30 a.m.) to some new appointed time on or after December 14.


                                       Respectfully submitted,

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                                                                                         Page 3
5401300.v2
         Case 2:22-cv-00543-SM-DPC Document 83 Filed 11/28/23 Page 4 of 5




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                                                                                  Page 4
5401300.v2
         Case 2:22-cv-00543-SM-DPC Document 83 Filed 11/28/23 Page 5 of 5




                                  CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 28th day of November, 2023, the foregoing was filed
electronically with the Clerk of Court using the CM/ECF system, and notice of this filing was
accordingly sent to all counsel of record through the Court’s electronic filing system.


                                              /s/   Ryan K. French            .
                                                     Ryan K. French




                                                                                          Page 5
5401300.v2
